Case 2:03-cr-20485-SH|\/| Document 291 Filed 06/13/05 Page 1 of 2 Page|D 334

HLazakaCv ap

IN THE UNITED sTATEs DIsTRIcT coURT "““ `”
FoR THE wEsTERN DISTRICT oF TENNESSEE g§JUH'B PH 5,

wEsTERN DIVISION ‘ ` 'Sh
ncaEsti n'wzz

CL H"-?§-:' 51 3_ §;[ST_C§€

Wu.os?m.msmaas

UNITED sTATEs oF AMERICA,

Plaintiff,

vs. CR. NO. 03-20485-Ma
DEMOND ROBINSON,
MARTIN COX,

ALFONZO JOHNSON,
ROBER'I1 PHILLIPS,

Defendants.

 

ORDER ON CONTINUANCE AN'.IJ SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August l2, 2005 is
excludable under l8 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this ij }< day Of June, 2005.

l//<//M__\

SAMUEL H. M.AYS, JR. /___
risdocumententered onthedocl<etsheetin codmplianc@ UNITED STATES DISTRICT JUDGE/’

m ama 55 and/or 32(1:>} aich on ~ 'O~) f Q/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 291 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/1emphis7 TN 38117--571

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
46 N. Third St.

Ste. 628

1\/1emphis7 TN 38103

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

1\/1emphis7 TN 38103--111

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

1\/1emphis7 TN 38105

PDA

Federal Defender's Oftice
100 N. Main BIdg.7 Suite 410
1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

